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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

     DISPLAY TECHNOLOGIES, LLC,

                         Plaintiff,                  Civil Action No. 2:15-cv-998-JRG-JRP

                 v.                                      CONSOLIDATED LEAD CASE

     NVIDIA CORPORATION, et al.,

                         Defendant.
 .

                         ORDER GRANTING MOTION TO DISMISS

         In light of the Motion to Dismiss filed by Plaintiff Display Technologies, LLC

  (“Display”), the Court HEREBY ORDERS as follows:


         1.     Display’s claims against JK Imaging Ltd. are hereby dismissed WITH

  PREJUDICE.


         2.     Display and JK Imaging Ltd. shall each bear their own attorneys’ fees and costs

  incurred in connection with this action.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 9th day of March, 2016.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
